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                                                                             ABBE DAVID LOWELL

                                       August 25, 2023
                                    _______________________________________________
                                    Application granted. The requested redactions
VIA ECF                             should be applied to the transcript.
Hon. John G. Koeltl
                                    SO ORDERED.
United States District Court
Southern District of New York
500 Pearl Street                    New York, New York      /s/ John G. Koeltl
New York, NY 10007                  August 25, 2023      John G. Koeltl, U.S.D.J.
                                    _______________________________________________
       Re:     Banco San Juan Internacional, Inc. v. the Federal Reserve Bank of New York
               and the Board of Governors of the Federal Reserve System, No. 1:23-cv-6414
               (JGK)

Dear Judge Koeltl:

       Plaintiff Banco San Juan Internacional, Inc. (“BSJI”) respectfully writes, pursuant to
Section VI.2 of the Court’s Individual Practices, to request that a portion of the transcript of this
Court’s July 26, 2023 hearing on BSJI’s Proposed Order to Show Cause With Emergency Relief,
ECF No. 6 (the “Transcript”), be redacted. The parties have conferred and neither the Federal
Reserve Bank of New York (the “FRBNY”) nor the Board of Governors of the Federal Reserve
System (the “Board,” and, together with the FRBNY, “Defendants”) have objected to this motion.

        As detailed below, BSJI requests a limited redaction of testimony referencing information
exchanged between BSJI and the Commissioner of Financial Institutions of Puerto Rico (“OCIF”).
The request is narrowly tailored to comply with Puerto Rican law regarding certain disclosures.
Because such information outweighs the presumption of access accorded to judicial documents
like that at issue here, BSJI’s request to seal this limited information should be granted. See
Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119-20 (2d Cir. 2006), Bernstein v. Bernstein
Litowitz Berger & Grossmann LLP, 814 F.3d 132, 141 (2d Cir. 2016).

        BSJI makes the limited request that the Court redact one reference to non-public
information exchanged with BSJI’s supervisor, OCIF. Under Puerto Rican law, the disclosure of
information contained in documents such as examinations and reports exchanged with OCIF is
prohibited. See Article 10(b)(9) of Regulation 5653 (“Any study, finding, conclusion and
recommendations the Commissioner or his representatives may make with regards to any
application to establish a Branch shall be considered privileged and confidential by nature and
shall not be disclosed.”).
        Case
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                                                                                       Hon. John G. Koeltl
                                                                                         August 25, 2023
                                                                                                        2

        Before this matter was assigned to Your Honor, BSJI was granted permission to redact
information related to OCIF on the grounds that such disclosure would violate Puerto Rican law. 1
Your Honor then granted the FRBNY permission to file under seal similar information regarding
OCIF. 2 BSJI seeks to redact the same category of information—references to communications
with OCIF—from the Transcript. The request is limited in scope, only seeking the redaction of
three lines from the 38-page Transcript, specifically 26:15-17.

        BSJI’s request to redact one reference from the Transcript is narrowly tailored to protect
against the disclosure of information exchanged between BSJI and OCIF, which is prohibited
under Puerto Rican Law. Accordingly, for the above reasons, BSJI requests that the Court order
the reference to OCIF be redacted.

                                                           Respectfully submitted,

                                                           /s/ Abbe D. Lowell

                                                           Abbe David Lowell
                                                           Kelly A. Librera

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                                                           Counsel for Banco San Juan Internacional,
                                                           Inc.

cc:     Counsel for All Parties (via ECF)




1
  See BSJI’s Memorandum of Law in Support of Plaintiff’s Motion for Leave to File Redacted Complaint and Order
to Show Cause for Temporary Restraining Order at 5 (1:23-mc-000241-LAP (“Miscellaneous Case”) Entry No. 1) and
Miscellaneous Case Entry No. 3.
2
  See FRBNY’s Letter Motion for Leave to File Their Memorandum of Law in Opposition to Motion for Preliminary
Injunction under Seal (ECF No. 50) and Order Granting FRBNY’s Motion to Seal (ECF No. 60).
